     CASE 0:14-cv-01578-DSD-BRT Document 72 Filed 05/29/15 Page 1 of 1



                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA

Anthony Steven Hill,                              Civil File No. 14-CV-01578 (MJD/BRT)

             Plaintiff,

       vs.                                   PLACEHOLDER FOR THE AFFIDAVIT
                                                           OF NOLA KAROW
Leon Malachinski, T. Warner, MN
D.O.C., Kristofer Lund, Corizon,
Vicki Pohlmann, Lisa Connors, Nola
Karow, unknown watch commander,

             Defendants.

This document is a place holder for the following item, which is filed in conventional or
physical form with the Clerk's Office: The Affidavit of Nola Karow.

If you are a participant in this case, this filing will be served upon you in conventional
format.

This filing was not e-filed for the following reason(s):

      Voluminous Document* (Document number of order granting leave to file
conventionally: ___ )

        Unable to Scan Documents (e.g., PDF file size of one page larger than 2MB,
illegible when scanned)

       Physical Object (description):

       Non Graphical/Textual Computer File (audio, video, etc.) on CD or other media

       Item Under Seal pursuant to a court order* (Document number of order: 68)

       Item Under Seal pursuant to the Fed. R. Civ. P. 52 and Fed. R. Crim. P. 49.1
       (Document number of redacted version: ___ )

       Other (description):
* Filing of these items requires Judicial Approval.
E-file this place holder in ECF in place of the documents filed conventionally. File a copy of
this Placeholder and a copy of the NEF with the Clerk's Office along with the conventionally
filed item(s).
